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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                              ENTERED
                                                                                              02/19/2020
IN RE:                                              §
                                                    §
NEIGHBORS LEGACY HOLDINGS, INC.,                    §       CASE NO. 18-33836-H1-11
                                                    §       (Chapter 11)
       Debtor.                                      §

INFINITY EMERGENCY MANAGEMENT                       §
GROUP, LLC,                                         §
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §       ADV. P. NO. 18-3276
                                                    §
SETUL G. PATEL, M.D., et al.,                       §
                                                    §
       Defendants.                                  §


             AGREED ORDER ON PLEADING AND MOTION DEADLINES

       On January 31, 2020, at 1:30 p.m. the Court held a status conference to consider the status

of the pleadings, including the pleadings of Mark Shapiro, Trustee of the Unsecured Creditors

Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates (the “Trust”). The Court set

March 26, 2020 at 1:30 p.m. to hear cross-motions for summary judgment between the Trust and

Infinity Emergency Management Group, LLC (“Infinity”) on the issue of standing to bring

derivative claims as between the Trust and Infinity. The Court agreed to allow Infinity to amend

its complaint. The Court ordered consolidation of Adversary Proceeding No. 20-3017 with this

Adversary Proceeding. The Court agreed to allow the Trust to amend its complaints to remove

Infinity as a defendant from Adversary Proceeding No. 20-3016 case and add those claims against

Infinity to this Adversary Proceeding. The Court asked the parties to submit a proposed agreed

order incorporating these orders and setting deadlines for filing amended pleadings and cross-
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   motions for summary judgment. Therefore it is:

          ORDERED that the Trust and Infinity shall file their amended complaints in this

   Adversary Proceeding on or before February 17, 2020. Further it is:

          ORDERED that the Trust and Infinity shall file their cross-motions for summary judgment

   on the issue of ownership of derivative claims on or before March 2, 2020. Further it is:

          ORDERED that the Trust and Infinity shall file their responses to cross-motions for

   summary judgment on or before March 23, 2020. Further it is:

          ORDERED that the hearing on the cross-motions for summary judgment is set for March

   26, 2020 at 9:00 a.m. Further it is:

          ORDERED that Adversary Proceeding No. 20-3017 is hereby consolidated for all

   purposes into this Adversary Proceeding. Further it is:

          ORDERED that the Trust shall amend its complaint in Adversary Proceeding No. 20-3016

   on or before February 17, 2020 to remove claims against Infinity and amend its complaint in this

   Adversary Proceeding No. 18-3276 to bring those same claims against Infinity. Further it is:

          ORDERED that the Defendants’ deadline to respond to the Trust’s and Infinity’s

   complaints and amended complaints will be 20 days after the court rules on the cross-motions for

   summary judgment referenced above.


Signed: February 19,2018
        October 17,  2020

                                                    ____________________________________
                                                                  Marvin Isgur
                                                        United States
                                                       JUDGE MARVIN   Bankruptcy
                                                                         ISGUR Judge
                                                       U.S. BANKRUPTCY JUDGE




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